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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT) Master File No. CV-07-5944-SC
ANTITRUST LITIGATION
MDL No. 1917

NOTICE OF APPEAL

This Document Relates ta:
ALL INDIRECT PURCHASER ACTIONS

Sap an Rien

Notice is hereby given that Sean Hull, Objector, hereby files this Notice of Appeal t

Special Master: Hon. Charles A, Legge (Ret.)

States Court of Appeals for the Ninth Circuit from the district court’s March 22, 2012 Order of Fina|
Approval of Settlement, and Overruling Objections to Settlement filed by Sean Hull and Fina

Judgment attached hereto and incorporated for all purposes. These are marked as Exhibits A and B.

Respectfully submitted, 4
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By dees Wy
Sean Hull

NOTICH OF APPEAL

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RTIFICATE OF SERV!

1 certify that a true and correct copy of the foregoing document has been forwarded to the
Clerk and all counsel of record by method shown below on this the 23rd day of March 2012,

Via U.S, Mail

Honorable Charles A. Legge (Ret.) JAMS
Two Embarcadero, Ste. 1500

San Francisco, CA 94111

Via U.S. Mall

Mario N. Alioto, Esq.

Trump, Alioto, Trump & Prescott, LLP
2280 Union Street

San Francisco, CA 94123

Interim Lead Counsel

Via U.S, Mail

Joel §. Sanders, Eaq.

Gibson Dunn & Crutcher LLP
555 Mission Street, Ste. 3000
San Fraricisco, CA 94105

Defense Counsel S 2 , Fy, ?

Sean Hull

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NOTICE OF APPRAL
Master File No. CV-7-5944.8C, MDL No. 1917

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Mario N. Alioto (56433)

Lauren C. Russell (241151)

TRUMP, ALIOTO, TRUMP & PRESCOTT LLP

2280 Union Street

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Telephone: 415-563-7200

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laur elli@tatp.com

Interim Lead Counsel for the
Indirect Purchaser Plaintiffs

ONITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT) Master File No. CV-07-5944-SC
ANTITRUST LITIGATION
MDL No. 1917

‘ ma ORDER GRANTING
FINAL APPROVAL OF SETTLEMENT
This Document Relates to: ron CHUNGHWA PICTURE TUBES,

TD.

All Indirect Purchaser Actions

Hearing Date: March 15, 2012

Time: 2:00 p.m.

JAMS: Two Embarcadero Center, Suite 1500
Judge: Honorable Samuel Conti

Special Master: Charles A, Legge (Ret.)

Indirect Purchaser Plaintiffs’ (“Plaintiffs”) request for final approval of the settlement
entered into with Chunghwa Picture ‘Tubes, Ltd. (“Settling Defendant”) and preliminarily
approved by this Court on August 9, 2011 (the “Settlement”) (see Docket Entry (“DE”) 993)
came on for hearing before Special Master Charles A. Legge (Ret.) (the “Hearing”) on March

15, 2012. The Special Master has considered the relief requested, the papers filed in support

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[PROPOSED] ORDER GRANTING FINAL APPROVAL OF SETTLEMNT WITH CHUNGHWA PICTURE
‘TUBES, LTD— Master File No, CV-07-5944-SC
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of this motion and in support of the motion for preliminary approval (see DE 884),’ and all
other arguments presented at the hearing. Due and adequate notice having been given, and
good cause appearing therefor, it is:

ORDERED, ADJUDICATED AND DECREED THAT:

Ts This Court has jurisdiction over the subject matter of the request and all
matters relating thereto, including all members of the Class.

2; For purposes of this Order, except as otherwise set forth herein, the Special
Master adopts and incorporates the definitions contained in the Settlement.

% For settlement purposes only and pursuant to Federal Rule of Civil Procedure
23, the Special Master determines that the following settlement class (the “Class” be

certified:

All persons and or entities who or which indirectly purchased in the United
States CRT Products manufactured and/or sold by the Defendants, or any
subsidiary, affiliate, or co-conspirator thereof, at any time during the period
from at least March 1, 1995 through at least November 25, 2007, except, for
purposes of claims on behalf of Illinois persons (as defined by 740 ILCS 10/4)
under 740 Il. Comp. Stat. § 10/7(2) and Oregon natural persons under ORS §§
646.780(5)(a). Such Illinois and Oregon persons (as identified in the preceding
sentence) shall instead be represented by the Attomey General of their state
pursuant to the parens patriae authority granted to each Attorney General by
those statutes. Specifically excluded from this Class are claims on behalf of
Washington persons (as defined by RCW 19.86.010) for purposes of claims
under RCW 19.86.080(1); the Defendants; the officers, directors or employees
of any Defendant; any entity in which any Defendant has a controlling interest;
and, any affiliate, legal representative, heir or assign of any Defendant, Also
excluded are any federal, state or local government entities, any judicial officer
presiding over this action and the members of his/her immediate family and

' A copy of the Settlement Agreement is attached as Exhibit 1 to the Declaration of Mario N.

Alioto In Support Of Motion For Preliminary Approval Of Class Action Settlement With
Chunghwa Picture Tubes, Ltd. See DE 884-1.

? Pursuant to the Special Master’s Report and Recommendations Regarding Proposed
Settlement With Chunghwa (DE 970), the Class definition approved by the Court is different
from the Class definition in the Settlement Agreement.

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[PROPOSED] ORDER GRANTING FINAL APPROVAL OF SETILEMNT WITH CHUNGHWA PICTURE
. TUBES, LT'D.-~ Master File No. CV-07-5944-SC
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judicial staff, and any juror assigned to this action.

4, The Special Master further finds that the prerequisites to a class action under
Federal Rule of Civil Procedure 23 are satisfied for settlement purposes in that:

(a) there are thousands of class members and therefore joinder of all members is
impracticable, —

(b) __ there are questions of law or fact common to the class which predominate
over individual issues;

(c) the claims or defenses of the class plaintiffs are typical of the claims or
defenses of the class; and

(d) __ the class plaintiffs will fairly and adequately protect the interests of the class,
and have retained counsel experienced in complex antitrust class action litigation who have
and will continue to adequately represent the class.
| 58 Those persons or entities set out in Exhibit ] attached hereto, have timely and
validly requested exclusion from the Class and, therefore, are excluded.

6. Due and adequate notice of the Settlement was provided to the Class,
including notice of the Settlement that was disseminated by publications in newspapers,
Sunday supplements, direct mail and press releases, as well as postings on the website
established for this case, www.CRTsettlement.com. Such notice was given in Secedgnes
with this Court’s Order Granting Preliminary Approval of Class Action Scttlement with
Defendant Chunghwa Picture Tubes, Ltd. See DE 993, Such notice adequately advised the
Class of the Settlement, of their right to exclude themselves from the Class or to object to the
Settlement, The manner of giving notice provided in this case fully satisfies the requirements
of Federal-Rule of Civil Procedure 23 and due process, constitutes the best notice practicable
under the circumstances, and constituted due and sufficient notice to all persons entitled
(hereto, A full and fair opportunity was provided to the members of the Class to be heard
regarding the Settlement.

% One objection to the Settlement was filed by Sean Hull. The objection is

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[PROPOSED] ORDER GRANTING FINAL APPROVAL OF SETTLEMNT WITH CHUNGHWA PICTURE
TUBES, LTD.— Master File No. CV-07-5944-SC
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hereby overruled on the grounds that the objector has failed to submit proof or otherovine
establish that he is a member of the Class, and therefore lacks standing to challenge the
Settlement. Additionally, the objection is otherwise without merit for the reasons set forth in
Plaintiffs’ Memorandum in Support of Final Approval of Class Action Settlement with
Defendant Chunghwa Picture Tubes, Ltd., and as argued at the Final Fairness Hearing.

8. {he Settlement is, in all respects, fair, adequate and reasonable to the Class.
Accordingly, the Court hereby grants final approval of the Settlement.

Dated: Myauealbe Dt Al. “
" Hon. Charles A. Legge (Reét.)

REVIEWED AND [APPROVED @7eet@RiFSe}

Dated: Mar. 22, 2012

fon. Samuel Conti *
United States District Judge’

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[PROPOSED] ORDER GRANTING FINAL APPROVAL. OF SETTLEMNT WITH CHUNGHWA PICTURE
TUBES, LTD.~ Master File No. CV-07-5944-8C

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EXHIBIT 1

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REQUESTS FOR EXCLUSION
(All Timely)
REFERENCE NAME COMPLETE DESCRIPTION

1. Circuit City Stores

Alfred H. Siegel, as Trustee of the Circuit City
Stores, Inc. Liquidating Trust, on behalf of
itself and Circuit City Stores, Inc. and its
affiliated debtors

2. Old Comp

Old Comp Inc. and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to,
Old Comp Inc. (formerly known as
CompUSA Inc.)
CompUSA GP Holdings Company
CompUSA Holdings Company
CompUSA Stores L.P.
CompUSA Management Company
CompTeam Inc.
Cozone.com Inc.
BeOn Inc. (formerly known as CompUSA
PC Inc.)
BeOn Operating Company (formerly known
as CompUSA PC Operating Company)
Computer City Inc.
Good Guys Inc,
Good Guys California, Inc.
Goodguys.com Inc.

3. PBE Consumer Electronics

PBF Consumer Electronics, LLC and related
entities

4. Petters Company

Douglas A. Kelley, as Chapter 11 Trustee for
Petters Company, Inc. and related entities and
as Receiver for Petters Company, LLC and

related entities |

Case 4:07-cv-05944-JST Document 1111 Filed 03/23/12 Page 9 of 16
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Case3:07-cV-05944-SC Documentil05 Filed03/22/12 Page7 of 7

5. RadioShack RadioShack Corporation and each of its
i parents, predecessors, successors, subsidiaries,
agents, affiliates, partners, acquisitions,
assignors, divisions, departments, and offices,
including, but not limited to, RadioShack
Corporation

6. Sears Sears, Roebuck and Co. and Kmart
Corporation and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to,

Sears, Roebuck and Co.

Sears Holding Corporation

Sears Holdings Management Corporation

Kmart Corporation

Kmart Management Corporation

Kmart Holdings Corporation

7, Target Target Corporation and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to, Target Corporation

8. ViewSonic ViewSonic Corporation and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to,

ViewSonic Corporation

ViewSonic International Corporation

ViewSonic Display Limited

ViewSonic Hong Kong Limited

9. Wal-Mart Wal-Mart Stores, Inc. and its subsidiaries and
affiliates, including but not limited to Wal-
Mart Stores East, LP; Wal-Mart Stores Texas,
LLC; Wal-Mart Louisiana, LLC, Wal-Mart
Stores Arkansas, LLC; and Walmart.com
USA, LLC (collectively operating as

-| Walmart); and Sam’s West, Inc. and Sam’s
East, Inc. (collectively operating as Sam's
Club)

10. Rhodrick Harden Rhodrick Harden from Columbus, Ohio

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Interim Lead Counsel for the
Indirect Purchaser Plaintiffs

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT) Master File No. CV-07-5944-SC
ANTITRUST LITIGATION

MDL No. {917
FINAL JODGMENT
OF DISMISSAL WITH PREJUDICE
This Document Relates to: AS TO CHUNGHWA PICTURE TUBES,
LTD. AND CHUNGHWA PICTURE TUBES
All Indirect Purchaser Actions (MALAYSIA) SDN. BHD.

Hearing Date: March 15, 2012

Time: 2:00 p.m.

JAMS: Two Embarcadero Center, Suite 1500
Judge: Hon. Samuel Conti

Special Master: Hon. Charles A. Legge (Ret.)

{PROPOSED] FINAL JUDGMENT OF D DISMISSAL WITH PREJUDICE AS TO CHUNGHWA PICTURE TUBES
AND CHUNGHWA PICTURE TUBRS (MALAYSIA) SDN. BHD., LTD. —~ Master File No. CV-07-5944-SC

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This matter has come before the Special Master to determine whether there is any cause why
this Court should not approve the settlement with Chunghwa Picture Tubes, Ltd. ("Defendant") set
forth in the settlement agreement ("Settlement"), dated April 8, 2009, relating to the above-captioned
litigation, in re Cathode Ray Tube (CRT) Antitrust Litigation, Case No.3:07cev 05944 SC, MDL No.
1917 (N.D. Cal.) ("Action"). The Special Master after carefully considering all papers filed and
proceedings held herein and otherwise being fully informed in the premises, has determined (1) that
the Settlement should be approved, and (2) that there is no just reason for delay of the entry of this
final Judgment approving the Settlement. Accordingly, the Special Master directs entry of Judgment
which shall constitute a final adjudication of this case on the merits as to the parties to the
Settlement. Good cause appearing therefor, it is:

ORDERED, ADJUDGED AND DECREED THAT:

1. The Court has jurisdiction over the subject matter of this litigation, and all actions
within this litigation and over the parties to the Settlement, including al] members of the Class and
the Defendant.

2. The definitions of terms set forth in the Settlement are incorporated hereby as though
fully set forth in this Judgment.

3. The Special Master hereby finally approves and confirms the settlement set forth in
the Settlement and finds that said settlement is, in all respects, fair, reasonable and adequate to the
Class pursuant 1o Rule 23 of the Federal Rules of Civil Procedure.

4, The persons/ entities set out in Exhibit 1, attached hereto, have timely and validly
requested exclusion from the Class and, therefore, are excluded. Such persons/entities are not
included in or bound by this Final Judgment. Such persons/entities are not entitled to any recovery
from the settlement proceeds obtained through the Settlement.

5. This Court hereby dismisses on the merits and with prejudice the Action, certified as
a settlement class in the Court's Order Granting Final Approval of the Settlement, in favor the
Defendant, with each party to bear their own costs and attorneys' fees (subject to any motion, or

application, to be made by Plaintiffs' Class Counsel to seek attorneys’ fees, costs, expenses,

] .
[PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJ UDICE AS TO CHUNGHWA PICTURE TUBES
AND CHUNGHWA PICTURE TUBES (MALAYSIA) SDN. BIID., LTD. — Master File No, CV-07-5944-SC

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including expert fees and costs, and other such items from the Settlement Fund as provided for in
the Settlement).

6. All sersons and entities who are Releasors are hereby barred and enjoined from
commencing, prosecuting, or continuing any claims, demands, actions, suits, or causes of action, or
otherwise seeking to establish liability, against Chunghwa Picture Tubes, Ltd. and Chunghwa
Picture Tubes (Malaysia) Sdn. Bhd. (“Releasces”). based, in whole or in part, upon any of the
Released Claims or conduct at issue in the Released Claims (as defined and limited in the
Settlement).

ht Releasees are hereby and forever released and discharged with respect to any and all
claims, demands, actions, suits, or causes of action which the Releasors had or have arising out of or
related to any of the Released Claims (as defined and limited in the Settlement).

8. The notice given to the Class of the settlement set forth in the Settlement and other
matters set forth therein was the best notice practicable under the circumstances. Said notice
provided due and adequate notice of the proceedings and of the matters set forth therein, including
the proposed settlement set forth in tbe Settlement, to all persons entitled 1o such notice, and said
notice fully satisfied the requirements of Rule 23 of the Federal Rules of Civil Procedure and the
requirements of duc process.

9. One objection to the Settlement was filed by Sean Hull. ‘The objection is hereby
overruled on the grounds that the objector has failed to submit proof or otherwise establish that he is
a member of the Class, and therefore lacks standing to challenge the Settlement. Additionally, the
objection is otherwise without merit for the reasons set forth in Plaintiffs’ Memorandum in Support
of Final Approval of Class Action Settlement with Defendant Chunghwa Picture Tubes, Ltd., and as
argued at the Final Fairness Hearing.

10. Without affecting the finality of this Judgment in any way, this Court hereby retains
continuing jurisdiction over: (a) implementation of this settlement and any distribution to Class
Members pursuant to further orders of this Court; (b) disposition of the Settlement Fund; (c) hearing
and determining applications by Plaintiffs' Class Counsel for attorneys’ fees, costs, expenses,

including expert fees and costs, and other such items; (d) the Class Action until the final judgments

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[PROPOSED] FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO CHUNGHWA PICTURE TUBES
AND CHUNGHWA PICTURE TUBES (MALAYSIA) SDN. BHD., LTD. - Master File No. CV-07-5944-SC

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contemplated hereby have become effective and each and every act agreed to be performed by the
parties all have been performed pursuant to the Settlement; and (¢) all parties to the Class Action and
Releasces for the purpose of enforcing and administering the Settlement and the mutual releases and
other documents contemplated by, or executed in connection with the Settlement.
if. In the event that the settlement does not fecone effective in accordance with the

terms of the Settlement, then the judgment shal] be rendered nul! and void and shall be vacated, and
in such event, all orders entered and releases delivered in connection herewith shall be null and void
and, except as otherwise provided in the Settlement, the parties shall be returned to their respective
positions ex ante,

12. ‘The Special Master determines, pursuant to Rules 54(a) and (b) of the Federal Rules
of Civil Procedure, that this Final Judgment should be entered and further finds that there is no just
reason far delay in the entry of this Judgment, as a Final Judgment, as to the parties to the

Settlement. Accordingly, the Clerk is hereby directed to enter Judgment forthwith.

Hon. Charles A, (Ret.)

Dated: Mane 26, 20 (2 a K

REVIEWED AND [APPROVED @eR HP)

Dated: Mar. 22, 2012

Hon. Sam €) Conti
United States District Judge

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[PROPOSED] l'INAL JUDGMENT OF DISMISSAL WITH PREJUDICE AS TO CHUNGHWA PICTURE TUBES
AND CHUNGHWA PICTURE TUBES (MALAYSIA) SDN. BHD., LTD. — Master File No. GV-07-5944-SC

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EXHIBIT 1

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REQUESTS FOR EXCLUSION
(All Timely)
REFERENCE NAME COMPLETE DESCRIPTION
1. Circuit City Stores Alfred H. Siegel, as Trustee of the Circuit City

Stores, Inc, Liquidating Trust, on behalf of
itself and Circuit City Stores, Inc. and its
affiliated debtors

2. Old Comp Old Comp Inc. and each of its parents,

‘ predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to,

Old Comp Inc. (formerly known as
CompUSA Inc.)

CompUSA GP Holdings Company
CompUSA Holdings Company
CompUSA Stores L.P.

CompUSA Management Company
CompTeam Inc.

Cozone.com Inc.

BeOn Inc. (formerly known as CompUSA
PC Inc.)

BeOn Operating Company (formerly known
as CompUSA PC Operating Company)
Computer City Inc.

Good Guys Inc.

Good Guys California, Inc.
Goodguys.com Inc.

3. PBR Consumer Electronics PBE Consumer Electronics, LLC and related
entities

4, Petters Company Douglas A. Kelley, as Chapter 11 Trustee for
Petters Company, Inc. and related entities and
as Receiver for Petters Company, LLC and
related entities

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Case ii ae Document 1111 Filed 03/23/12 Page 16 of 16
Case3:07-cv-05944-SC Document1106 Filed03/22/12 Page? of 7

5, RadioShack RadioShack Corporation and each of its
parents, predecessors, successors, subsidiaries,
agents, affiliates, partners, acquisitions,
assignors, divisions, departments, and offices,
including, but not limited to, RadioShack
Corporation

6, Sears Sears, Roebuck and Co. and Kmari
Corporation and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to,

Sears, Roebuck and Co.

Sears Holding Corporation

Sears Holdings Management Corporation

Kmart Corporation

Kmart Management Corporation

Kmart Holdings Corporation

7. Target Target Corporation and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to, Target Corporation

8. ViewSonic ViewSonic Corporation and each of its parents,
predecessors, successors, subsidiaries, agents,
affiliates, partners, acquisitions, assignors,
divisions, departments, and offices, including,
but not limited to,

ViewSonic Corporation

ViewSonic International Corporation

ViewSonic Display Limited

ViewSonic Hong Kong Limited

9, Wal-Mart Wal-Mart Stores, Inc. and its subsidiaries and
affiliates, including but not limited to Wal-
Mart Stores East, LP; Wal-Mart Stores Texas,
LLC; Wal-Mart Louisiana, LLC; Wal-Mart
Stores Arkansas, LLC; and Walmart.com
USA, LLC (collectively operating as
Walmart); and Sam's West, Inc. and Sam’s
East, Inc. (collectively operating as Sam’s
Club)

10. Rhodrick Harden Rhodrick Harden from Columbus, Ohio

